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IN THE UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION

TYBRISA BEACH RESORT
CONDOMINIUM ASSOCIATION,
ING: 3

Plaintiff,
Vv.

CASE NO. CV419-276

EVEREST INDEMNITY INSURANCE
COMPANY,

Defendant.

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ORDER
Before the Court is Plaintiff’s Notice of Voluntary Dismissal
Without Prejudice. (Doc. 8.) Pursuant to Federal Rule of Civil
Procedure 41(a)(1)(A)(i), a plaintiff may dismiss an action by
filing “a notice of dismissal before the opposing party serves

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either an answer or a motion for summary judgment.” As requested
by Plaintiff, this action is DISMISSED WITHOUT PREJUDICE.
Accordingly, the Magistrate Judge’s Report and Recommendation
(Doc. 7) is DISMISSED AS MOOT. The Clerk of Court is DIRECTED to

close this case.

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SO ORDERED this ™ day of October 2020.

WILLIAM T. MOORE, §R.
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 
